          Case 4:23-cr-00371-DC Document 38 Filed 03/07/24 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 PECOS DIVISION

USA                                         §
                                            §
vs.                                         §    Case Number: PE:23-CR-00371(1)-DC
                                            §
(1) Sergio Menchaca Pizarro                 §


              ORDER SETTING DOCKET CALL AND PLEA DEADLINE


IT IS HEREBY ORDERED that the above entitled and numbered case is set for DOCKET
CALL on Friday, September 13, 2024 at 11:00 AM. Docket Call announcement should be
emailed to Joseph_Hinojos@txwd.uscourts.gov and Susan _O_Williams@txwd.uscourts.gov by
September 13, 2024, at 11:00 AM. Plea deadline is October 2, 2024.

IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to the
defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for the
defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


IT IS SO ORDERED this 7th day of March, 2024.



                                            ______________________________
                                            DAVID B. FANNIN
                                            UNITED STATES MAGISTRATE JUDGE
